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                                                     UNITED STATES DISTRICT COURT
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                                                               DISTRICT OF KANSAS

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        TIMOTHY M. O’BRIEN
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         INGRID CAMPBELL                                                                               W IC H IT A , KA N S A S 67202
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                 (913)                                      May 18, 2018                       T O P E K A , KA N S A S 66683
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           Clerk, U.S. Court of Appeals
           for the Tenth Circuit



           Steven Wayne Fish, et al v. Kris Kobach, et al
           District Court Case No:
                               2:16-cv-02105-JAR
           Circuit Appeal No: 18-3094

           Dear Clerk,

           Please be advised that the record is complete for the purposes of appeal.

                           The transcript was filed this date.

                            A transcript is not necessary for this appeal.

                           The necessary transcript is all ready on file in the U.S. District Court.

                           The necessary transcript was ordered previously in appeal #________________.


                                                       Sincerely,

                                                       TIMOTHY M. O’BRIEN


                                                       By:   s/ Charles Van Ness
                                                             Deputy Clerk



           cc: Counsel of Record (SEE NOTICE OF ELECTRONIC FILING)
